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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

PSARA ENERGY, LTD.
Plaintiff

SPACE SHIPPING, LTD.; GEDEN HOLDINGS:

LTD.; ADVANTAGE START SHIPPING, :

LLC; GENEL DENIZCILIK NAKLIYATIASS. :

A/K/A GEDEN LINES; ADVANTAGE :

TANKERS, LLC; ADVANTAGE HOLDINGS, : ADMIRALTY
LLC; FORWARD HOLDINGS, LLC; :

MEHMET EMIN KARAMEHMET;

GULSUN NAZLI KARAMEHMET

WILLIAMS; and TUGRUL TOKGOZ

Defendants

VERIFICATION OF COMPLAINT

Pursuant to 28 U.S.C. §1746, Despoina Bacha, declares under the penalty of perjury:

l. I am an individual of sound mind, and have never been convicted of a crime of
moral turpitude.

2 I am a citizen of Greece and a resident of Athens and a lawful representative of the
Plaintiff in the above action and duly authorized on its behalf to make this verification.

3. I have read the foregoing Verified Complaint and exhibits thereto in the above
captioned action and know the contents thereof; and

I declare under the penalty of perjury under the laws of the United States that the foregoing

is true and correct.

Signed in Athens, Greece this 1g day of April, 2018.
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Despoina Bacha

